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8    Attorneys for Plaintiff,
9    SANDRA EDMONDS
10                         UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12

13
     SANDRA EDMONDS,                              Case No.:
14

15
                  Plaintiff,
                                            COMPLAINT FOR VIOLATIONS
16   vs.                                    OF: AMERICAN’S WITH
17                                          DISABILITIES ACT OF 1990, 42
     Brentwood Jefferson LLC, a California U.S.C. § 12181 ET SEQ.; UNRUH
18   Limited Liability Company; and Does 1- CIVIL RIGHTS ACT,
19   10,                                    CALIFORNIA CIVIL CODE § 51
20               Defendants.                ET SEQ.
21

22

23

24                “Just because a man lacks the use of his eyes doesn’t mean he lacks
25
     vision.” – Stevie Wonder
26

27
            Plaintiff Sandra Edmonds (hereinafter referred to as “Plaintiff”), complains
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
     ET SEQ.; UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL CODE § 51 ET SEQ. - 1
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1    of Brentwood Jefferson LLC, a California Limited Liability Company, and Does
2
     1-10 (each, individually a “Defendant” and collectively “Defendants”) and alleges
3
     as follows:
4
                                       I.     PARTIES
5
           1.      Sandra Edmonds suffers from osteoarthritis. Her movement and
6

7
     walking are impaired. The arthritis affects her knees and lower back especially

8    severely. The cartilage in both her knees has eroded. The bones in the knees grind
9    on each other, causing pain and impairment. She relies on a walker or cane on a
10   daily basis for mobility. Plaintiff is a California resident with physical disabilities.
11
     Plaintiff is qualified as being disabled pursuant to 42 USC Section 12102(2)(A),
12
     the California Unruh Civil Rights Act, Sections 51, et seq. and 52, et seq., and
13
     other statutory laws which protect the rights of “disabled persons”. Plaintiff has a
14
     “physical disability” as defined by California Government Code §12926. Plaintiff
15

16
     has been issued a blue permanent disability Disabled Person Parking Placard by

17   the State of California.
18         2.      Defendants Brentwood Jefferson LLC, a California Limited Liability
19   Company, owned the property (“Property”) located at 5100 W Jefferson Blvd., Los
20   Angeles, CA 90016, at all relevant times.
21
           3.      There is a business establishment on the Property known as “United
22
     Oil 76 Gas Station” (hereinafter “the business”).
23
           4.      DOES 1 through 10 were at all relevant times lessors, lessees,
24
     property owners, subsidiaries, parent companies, employers, employees, agents,
25

26   corporate officers, managers, principles and/or representatives of Defendants.
27   Plaintiff is unaware of the true names and capacities of Defendants sued herein, as
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1    DOES 1 through 10, inclusive, and therefore, sues those Defendants by fictitious
2
     names. Plaintiff requests that the Court grant leave to amend this complaint to
3
     allege the true names and capacities when determined by whatever source.
4
            5.     Plaintiff alleges that Defendants at all times have been and are
5
     relevant to this cause of action, the owners, franchisees, lessees, general partners,
6

7
     limited partners, agents, employees, employers, represent partners, subsidiaries,

8    partner companies, and/or joint ventures of the remaining Defendants and were
9    acting within the course and scope of that relationship. Plaintiff is further informed
10   and believes and alleges that each of the Defendants gave consent to, ratified,
11
     and/or authorized the acts alleged of each of the remaining defendants.
12
            6.     Plaintiff visited the public accommodations owned and operated by
13
     Defendants with the intent to purchase and/or use the goods, services, facilities,
14
     privileges, advantages or accommodations operated and/or owned by Defendants.
15

16
                             II.    JURISDICTION & VENUE

17          7.     This Court has subject matter jurisdiction over this action pursuant to
18   28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the American with
19   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq. (the “ADA”).
20          8.     Pursuant to supplemental jurisdiction, an attendant and related cause
21
     of action, arising from the same nucleus of operative facts and arising out of the
22
     same transactions, is also brought under California’s Unruh Civil Rights Act,
23
     which act expressly incorporates the ADA.
24
            9.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) and is
25

26   founded on the fact that the real property which is the subject of this action is
27   located in this district and that Plaintiffs cause of action arose in this district.
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1                                       III.   FACTS
2
           10.    The Property owned by Defendants is a facility which is open to the
3
     public and is a business establishment.
4
           11.    Plaintiff alleges that the Property has been newly constructed and/or
5
     underwent remodeling, repairs, or alterations since 1992, and that Defendants have
6

7
     failed to comply with California access standards which applied at the time of each

8    new construction and/or alteration or failed to maintain accessible features in
9    operable working condition.
10         12.    Plaintiff visited the Property during the relevant statutory period on
11
     four (4) separate occasions including in February 2019, March 2019, April 2019
12
     and November 2019 to use the business on the Property.
13
           13.    Defendants did not offer persons with disabilities with equivalent
14
     facilities, privileges and advantages offered by Defendants to other patrons.
15

16
           14.    Plaintiff encountered barriers (both physical and intangible) that

17   interfered with – and denied – Plaintiff the ability to use and enjoy the goods,
18   services, privileges and accommodations offered at the Property.
19         15.    Parking for patrons visiting the Property are among the facilities,
20   privileges, and advantages offered by Defendants to patrons of the Property.
21
           16.    However, there is no accessible parking for disabled persons. None of
22
     the parking spaces designated for disabled persons comply with the Americans
23
     with Disabilities Act (“ADA”).
24
           17.    The parking area does not comply with the latest California Building
25

26   Codes (“2010 CBC Code”).
27         18.    Parking are one of the facilities, privileges, and advantages offered by
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
     ET SEQ.; UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL CODE § 51 ET SEQ. - 4
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1    Defendants to patrons of the Property.
2
           19.    When Plaintiff visited the Property, Plaintiff experienced access
3
     barriers related to parking and the paths of travel to the entrance.
4
           20.    The marked paths are a road to nowhere at this gas station. The
5
     disabled must go around ice boxes, vending machines, and take circuitous
6

7
     routes around curbs and changes of level. The paths lead nowhere, for

8    disabled.
9          21.    Plaintiff encountered the following violations on the Property:
10

11
           VIOLATION of 2010 CBC 1114B.1.2; 1991 ADA § 4.3.2(1); (Exterior
12
           Route of Travel) An accessible route of travel was not provided to all
13
           portions of the building, entrances and between the building and public way.
14

15

16
           VIOLATION of 2010 CBC 1114B.1.2; 1991 ADA § 4.3.2(1), 4.1.2(1);

17         (Transportation - Route of Travel) An accessible route of travel must be
18         provided within the property boundary connecting public transport zones,
19         parking, passenger loading zones and public streets or sidewalks they serve,
20         to the building entrance. There was no accessible route connecting these
21
           elements for Plaintiff to travel: Even the exteriors of the building were not
22
           accessible.
23

24
           VIOLATION of 2010 CBC 1129B.4; (Off-Street Unauthorized Parking
25

26         Sign – Towed Vehicle Information). The Unauthorized Parking Towed
27         Vehicle sign must state information regarding the tow company and
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1          telephone number. This information was not provided. This information
2
           was left blank. The sign was also covered with vandalism – adhesive
3
           stickers.
4

5

6

7
           VIOLATION of 2010 CBC 1129B.1; ADA 1991 Code § 4.6.2; ADA 2010

8          Code § 208.3.1. (Minimize travel distance). The parking space reserved for
9          disabled persons is not located to minimize the travel distance.
10

11
           VIOLATION of 2010 CBC Code 1129B.1; ADA 2010 section 502.6.
12
           (Sign obscured). The disabled parking space does have a disabled parking
13
           sign, however the sign posted at the off-street entrance it is obscured from
14
           being read because is covered with adhesive stickers, making it difficult for
15

16
           Plaintiff, other patrons to read the sign. The sign was vandalized and left

17         vandalized.
18

19         VIOLATION of 2010 CBC Code Section 1127B.1. (No Accessible
20         Exterior Route). There is no accessible path of travel into the building
21
           entrances. There is no safe way for Plaintiff to park there and then travel to
22
           the entrance of the Property. The accessible marked path of travel leads
23
           directly into a Arctic Glacier ice locker and a large Primo brand
24
           drinking water vending machine both of which block the path of travel.
25

26

27         VIOLATION of 2010 CBC Code Section 1127B.1;ADA 1991 Code §
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1          4.6.2(1). (Directional signage). There is no directional signage showing an
2
           accessible path of travel.
3

4
           VIOLATION of 2010 CBC 1133B.7.4; ADA 2010 section 303.3. (Path
5
           from Parking – Uneven surface) The path of travel from the designated
6

7
           disabled parking space to the entrance has damaged ground which is uneven.

8          The damaged ground is uneven. There are cracks and uneven surfaces. The
9          surface of the ground within the designated path of travel leading into the
10         entrance. This makes traveling in this area difficult. The path of travel from
11
           the designated disabled parking space to the entrance runs into cracks and
12
           changes in level greater than 1/2 inch but provides no ramps. These steep
13
           changes in level create uneven surfaces.
14

15

16
           VIOLATION of 2010 CBC 1133B.7.1; ADA § 4.3.8; (Walks/Sidewalks

17         Change in Level ½”). The walk into the business does not have a
18         continuous common surface because there are abrupt changes in level of
19         more than ½ inch. Additionally, the marked paths of travel lead directly into
20         a curb. The marked paths are a road to nowhere.
21

22
           VIOLATION of 2010 CBC 1133B.7.1; (Walks/Sidewalks Min. Width 48”)
23
           The walk into the business does not have a minimum width of 48”. The
24
           walk around the building where the gas station is located is blocked by a
25

26         Arctic Glacier ice locker and a large Primo brand drinking water
27         vending machine both of which block the path of travel.
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1

2
           VIOLATION of 2010 CBC 1133B.5.1; ADA § 4.8.1 (Ramps 5%). The
3
           accessible route of travel is more than 1:20 (5%) but is not a compliant
4
           ramp.
5

6

7
           VIOLATION of 2010 CBC 1133B.5.2; (48” Min. for Ramps). The ramps

8          do not have a minimum clear width of 48” inches.
9

10         VIOLATION of 2010 CBC 1133B.5.3; ADA § 4.8.2 (Least Possible Slope
11
           of Ramp Mandatory). The least possible slope of the ramp leading into the
12
           business was not used.
13

14
           VIOLATION of 2010 CBC 1133B.5.3; ADA § 4.8.2 (Max. Slope of Ramp
15

16
           8.33%). The slope of the ramp leading into the business is greater than

17         8.33%.
18

19         VIOLATION of 2010 CBC 1133B.5.4; ADA § 4.8.4 (Level Ramp
20         Landings). Level ramp landings must be provided at the top and bottom of
21
           each ramp. They were not provided.
22

23
           VIOLATION of 2010 CBC 1133B.5.4; ADA § 4.8.4(1) (Width of Ramp
24
           Landings). The landing of ramps must be at least twice the width as the tamp
25

26         run leading to it, but they were not at least twice as wide.
27

28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1              VIOLATION of 2010 CBC 1133B.5.4.2; ADA § 4.8.4(2), 4.8.4(3) (Min.
2
               Landing Width and Length for Top Ramp Landings 60”). The top landing of
3
               ramps were not 60” wide and long as required.
4

5
               VIOLATION of 2010 CBC 1133B.5.4.2 (Min. Landing Length for Bottom
6

7
               Ramp Landings 72”). The bottom landing of ramps was not 72” in length as

8              required.
9

10             VIOLATION of 2010 CBC 1133B.5.4.6; ADA § 4.8.4(3) (Min. Landing
11
               Size for Ramps Direction Change). The minimum landing size of 60” x 60”
12
               was not provided for the ramp’s change of direction.
13

14
               VIOLATION of 2010 CBC 1133B.5.4.9 (Ramp Hazard Curb). The
15

16
               minimum 2” hazard curb for the ramp with was not provided for the ramp.

17

18

19
               VIOLATION of 2010 CBC Section 1133B.2.5; ADA 1991 Code §

20             4.13.11; ADA 2010 Code § 404.2.9. (Effort to Operate Front Door). The
21             door opening force was greater than 5 pounds (22.2 N 1), making it hard for
22

23

24
                      1
                          The newton (symbol: N) is the International System of Units (SI) derived unit of force. It is
25
     named after Isaac Newton in recognition of his work on classical mechanics, specifically Newton's second law of
26
     motion.
27

28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1           Plaintiff to get inside the main entrance.
2
            22.    Plaintiff personally encountered these barriers.
3
            23.    These inaccessible conditions denied Plaintiff full and equal access
4
     and caused difficulty, humiliation and frustration.
5
            24.    The barriers existed during each of Plaintiff’s visits in 2019.
6

7
            25.    Plaintiff alleges that Defendants knew that the architectural barriers

8    prevented access. Plaintiff will prove that Defendants had actual knowledge that
9    the architectural barriers prevented access and that the noncompliance with the
10   ADAAG and Title 24 of the California Building Code regarding accessible features
11
     was intentional.
12
            26.    Plaintiff intends to return to Defendants public accommodation
13
     facilities in the near future. Plaintiff is currently deterred from returning because
14
     of the knowledge of barriers to equal access that continue to exist at Defendants’
15

16
     facilities that relate to Plaintiff’s disabilities.

17          27.    Defendant has failed to maintain in working and useable conditions
18   those features necessary to provide ready access to persons with disabilities.
19          28.    Defendants have the financial resources to remove these barriers
20   without much expense or difficulty in order to make their Property more accessible
21
     to their mobility impaired customers. These barriers are readily achievable to
22
     remove. The United States Department of Justice has identified that these types of
23
     barriers are readily achievable to remove.
24
            29.    To date, Defendants refuse to remove these barriers.
25

26          30.    On information and belief, the Plaintiff alleges that the Defendants’
27   failure to remove these barriers was intentional because the barriers are logical and
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1    obvious. During all relevant times Defendants had authority, control and dominion
2
     over these conditions and therefore the absence of accessible facilities was not a
3
     mishap but rather an intentional act.
4
           31.    These barriers to access are described herein without prejudice to
5
     Plaintiff citing addition barriers to access after inspection by plaintiff’s access
6

7
     agents, pursuant to Doran v 7-ELEVEN, Inc. 524 F3d 1034 (9th Cir. 2008) (holding

8    once a plaintiff encounters one barrier at a site, a plaintiff can sue to have all
9    barriers that relate to their disability removed regardless of whether they personally
10   encountered them).
11
       IV. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
12      WITH DISABILITIES ACT OF 1990 (42 U.S.C. section 12101, et seq.)
13                                 (Against All Defendants)
14
           32.    Plaintiff alleges and incorporates by reference each and every
15
     allegation contained in all prior paragraphs of this complaint.
16

17         33.    Title III of the ADA prohibits discrimination against any person on
18   the basis of disability in the full and equal enjoyment of the goods, services,
19   facilities, privileges, advantages, or accommodations of any place of public
20   accommodation by any person who owns, leases or leases to, operates a place of
21
     public accommodation. U.S.C. § 12182(a).
22
           34.    Defendants discriminated against Plaintiff by denying “full and equal
23
     enjoyment” and use of the goods, services, facilities, privileges or accommodations
24
     of Defendant’s facility during each visit and each incident of deterred visit.
25

26
           35.    The acts and omissions of Defendants herein are in violation of

27   Plaintiff’s rights under the ADA and the regulations under 28 C.F.R. Part 36, et
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1    seq.
2
            36.    Pursuant to the ADA, discrimination is a “failure to make reasonable
3
     modifications in policies, practices or procedures, when such modifications are
4
     necessary to afford goods, services, facilities, privileged, advantages or
5
     accommodation to individuals with disabilities, unless the entity can demonstrate
6

7
     that making such modifications would fundamentally alter the nature of such

8    goods, services, facilities, privileges, advantages or accommodations.” 42 U.S.C.
9    § 12182(b)(2)(A)(ii).
10          37.   The ADA prohibits failing to remove structural architectural barriers
11
     in existing facilities where such removal is readily achievable. 42 U.S.C. §
12
     12182(b)(2)(A)(iv). The term “readily achievable” is defined as “easily
13
     accomplishable and able to be carried out without much difficulty or expense.” Id.
14
     § 12181(9). Barriers are defined by reference to the ADAAG, found at 28 C.F.R.,
15

16
     Part 36.

17          38.   In the event removal of any barrier is shown to not be readily
18   achievable, a failure to make goods, services, facilities, or accommodations
19   available through alternative methods is also prohibited if these methods are
20   readily achievable. Id. § 12182(b)(2)(A)(v).
21
            39.   Plaintiff alleges that Defendants can easily remove the architectural
22
     barriers at their facility without much difficulty or expense, and that Defendants
23
     violated the ADA by failing to remove those barriers because it was readily
24
     achievable to do so. Defendants can afford such costs given they are a fraction of
25

26   what the Defendants takes in rental profits for such a large and expensive property.
27          40.   In the alternative, if it was not “readily achievable” for Defendants to
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1    remove the facilities barriers, the Defendants violated the ADA by failing to make
2
     the required services available through alternative methods, which are readily
3
     achievable.
4
           41.     On information and belief, the facility was modified after January 26,
5
     1992, mandating access requirements under the ADA.
6

7
           42.     The ADA requires that facilities altered in a manner that affects or

8    could affect its usability must be made readily accessible to individuals with
9    disabilities to the maximum extent feasible. 42 U.S.C. §12183(a)(2).
10         43.     Plaintiff alleges that Defendants altered the facility in a manner that
11
     violated the ADA and was not readily accessible to physically disabled persons,
12
     including Plaintiff, to the maximum extent feasible.
13
           44.     The ADA also requires reasonable modification in policies, practices,
14
     or procedures when necessary to afford such goods, services, facilities, or
15

16
     accommodations to individuals with disabilities, unless the entity can demonstrate

17   that making such modifications would fundamentally alter their nature. 42 U.S.C.
18   § 12182(b)(2)(A)(ii).
19         45.     Plaintiff alleges that Defendants violated the ADA by failing to make
20   reasonable modifications in policies, practices, or procedures at the facility when
21
     these modifications were necessary to afford (and would not fundamentally alter
22
     the nature of) these goods, services, facilities, or accommodations.
23
           46.     Plaintiff seeks a finding from this Court that Defendants violated the
24
     ADA in order to pursue damages under California’s Unruh Civil Rights Act for
25

26   Disable Persons Act.
27         47.     Here the Defendants’ failure to make sure that accessible facilities
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1    were available and ready to be used by the Plaintiff is a violation of law.
2
           48.    Plaintiff would like to continue to frequent Defendants’ facility, but
3
     Plaintiff has been discriminated against and continues to be discriminated against
4
     because of the lack of accessible features.
5
           49.    Among the remedies sought, Plaintiff seeks an injunction order
6

7
     requiring compliance with the state and federal access laws for all the access

8    violations that exist at the Property.
9     V. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH ACT
10
                        (Cal. Civ. Code § 51-53.)

11                                 (Against All Defendants)
12
           50.    Plaintiff repleads and incorporates by reference, as fully set forth
13
     again herein, the allegations contained in all prior paragraphs of this complaint.
14
           51.    California Civil Code § 51 states, in part: All persons within the
15
     jurisdictions of this state are entitled to the full and equal accommodations,
16

17   advantages, facilities, privileges, or services in all business establishments of every
18   kind whatsoever.
19         52.    California Civil Code § 51 also states, in part: No business
20   establishment of any kind whatsoever shall discriminate against any person in this
21
     state because of the disability of the person.
22
           53.    California Civil Code § 51(f) specifically incorporates (by reference)
23
     an individual’s rights under the ADA into the Unruh Act.
24
           54.    The Unruh Act also provides that a violation of the ADA, or
25

26
     California state accessibility regulations, is a violation of the Unruh Act. Cal Civ.

27   Code, § 51(f); Arnold v. United Artists Theatre Circuit, Inc., 866 F. Supp. 433, 439
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
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1    (N.D.Cal.1994).
2
             55.      Defendants’ above-mentioned acts and omissions have violated the
3
     Unruh Act by denying Plaintiff rights to full and equal use of the accommodations,
4
     advantages, facilities, privileges and services they offer, on the basis of Plaintiff’s
5
     disability.
6

7
             56.      Defendants’ above-mentioned acts and omissions have also violated

8    the Unruh Act by denying Plaintiff rights to equal access pursuant to the ADA and
9    are liable for damages. (Civ. Code § 51(f), 52(a)).
10           57.      Because violation of the Unruh Civil Rights Act resulted in difficulty,
11
     discomfort or embarrassment for the Plaintiff, the Defendants are also each
12
     responsible for statutory damages, such as a civil penalty. (Civ. Code § 55.56(a)-
13
     (c)).
14
             58.      Plaintiff was damaged by Defendants’ wrongful conduct and seeks
15

16
     statutory minimum damages of four thousand dollars ($4,000) for each offense.

17                                   PRAYER FOR RELIEF
18                    WHEREFORE, Plaintiff prays judgment against Defendants, as
19   follows:
20           1. For injunctive relief, compelling Defendants to comply with the
21
                   Americans for Disabilities Act and the Unruh Civil Rights Act. Note:
22
                   Plaintiff is not invoking section 55 of the California Civil Code and is
23
                   not seeking injunctive relief under the Disabled Person Acts.
24
             2. Damages under the Unruh Civil Rights Act which provides for actual
25

26                 damages and a statutory minimum of $4,000 per each offense.
27           3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
     ET SEQ.; UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL CODE § 51 ET SEQ. - 15
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1              to 42 U.S.C. § 12205; and Cal. Civ. Code § 52.
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      Dated: January 24, 2020            THE LAW OFFICE OF HAKIMI & SHAHRIARI
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7                                        By: /s/Peter Shahriari
8                                            Peter Shahriari, Esq.
                                             Attorneys for Plaintiff Sandra Edmonds
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28   COMPLAINT FOR VIOLATIONS OF: AMERICAN’S WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12181
     ET SEQ.; UNRUH CIVIL RIGHTS ACT, CALIFORNIA CIVIL CODE § 51 ET SEQ. - 16
